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ZACHARY W. CARTER
                                          THE CITY OF NEW YORK                                   Nana K. Sarpong
Corporation Counsel                      LAW DEPARTMENT                                              Senior Counsel
                                                                                         Telephone: (212) 356-0827
                                             100 CHURCH STREET                            Facsimile: (212) 356-3558
                                             NEW YORK, NY 10007                             nsarpong@law.nyc.gov




                                                                  November 17, 2017

                                                          UNDER   SEAL (PURSUANT   TO
                                                          COURT ORDER, DOCKET ENTRY
                                                          DATED NOVEMBER 14, 2017)

      VIAECF (UNDER SEAL)
      Honorable Steven L. Tiscione
      United States District Court
      Eastern District of New York
      225 Cadman Plaza East
      New York, New York 10007


                      Re:   Issiah Yusuf v. City of New York, et al,
                            15-cv-5545 (ENV) (ST)


      You Honor:

                     I am a Senior Counsel in the Office of Zachary W. Carter, Corporation Counsel
      for the City of New York, representing defendants City of New York, Police Officer Anthony
      Byrd, Police Officer Andy Mitchell, Sergeant Jonathan Ringel, Police Officer Richard
      DeMartino, Police Officer Keith Dipresso, Police Officer Nicolas Ripa, Lieutenant William
      Glynn, Police Officer Eric Cabrera and Sergeant Neil Casey (“defendants”) in the above-
      referenced matter. Pursuant to the Court’s Order dated November 14, 2017, I write respectfully
      to submit the enclosed Grand Jury Minutes for in camera inspection.

                     By way of background, on September 25, 2017, the Court directed defendants to
      produce the grand jury minutes of New York State Criminal case number 2015QN035864 to
      plaintiff. Accordingly, an Unsealing Order was endorsed by the Court and defendants received
      the aforementioned grand jury minutes on or about November 3, 2017, with the intension of
      producing same to plaintiff. However, after reviewing the aforementioned grand jury minutes,
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defendants believe the production of same could severely implicate the safety of a non-party
individual, subjecting him or her to serious bodily harm or even death. On November 14, 2017,
the Court granted defendants permission to submit the grand jury minutes under seal to the Court
for in camera inspection. (Docket Entry dated November 14, 2017)

                Accordingly, attached as Exhibit A are the grand jury minutes at issue1. As the
Court is aware, on July 19, 2015, officers arrested plaintiff Issiah Yusuf pursuant to a complaint
made by a third party, accusing Issiah Yusuf and other known members of the street gang P.O.S.
of assault, battery and robbery. The charges against plaintiff Issiah Yusuf were later dismissed.
However, upon information and belief, the criminal cases against the other P.O.S. members
arrested for the crimes were resolved before the identity of the witnesses and the nature of their
testimony could be revealed. The street gang P.O.S. is known to be a dangerous and violent
gang. Recently, several members, including plaintiff Issiah Yusuf, pled guilty to, among others
charges, conspiracy to murder and assault.

                  Therefore, if disclosed, the information contained in the section of the grand jury
minutes submitted under seal to the Court reveals could severely implicate the safety of non-
party witnesses of the criminal case, subjecting them to serious bodily harm or even death. In
light of the serious safely concerns for the non-party individuals, defendants respectfully request
that the Court inspect the grand jury minutes in camera to determine whether same should still
be produced to plaintiffs.

               Defendants thank the Court for its time and attention to this matter.


                                                      Respectfully submitted,

                                                              /s/

                                                      Nana K. Sarpong
                                                      Senior Counsel



cc:    BY ECF (w/o enclosures and letter outlining the relevant testimony)
       Gillian Cassell-Stiga, Esq.




1
 For the Court’s reference, defendants have also attached the grand jury minutes in its entirety as
Exhibit B.



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